Case 1:18-cv-00950-LO-JFA Document 316 Filed 08/30/19 Page 1 of 9 PagelD# 11255

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

 

SONY MUSIC ENTERTAINMENT, ef ai..

V.

COX COMMUNICATIONS, INC., et al.,

Plaintiffs,

Case No. 1:18-cv-00950-LO-JFA

CONTAINS HIGHLY CONFIDENTIAL —
Defendants. ATTORNEYS’ EVES ONLY
INFORMATION

 

 

DECLARATION OF SAM BAHUN

I, Sam Bahun, hereby declare pursuant to 28 U.S.C. § 1746 that the following statements

are true and correct to the best of my personal knowledge and belief:
Introduction

1. 1 am the Director of Strategic Accounts of MarkMonitor, Inc. (“MarkMonitor”), a
company that, among other things, monitors online networks for infringing content. I have
personal knowledge of the facts set forth herein and, if necessary, I would and could competently
testify thereto if called as a witness in this matter. I submit this declaration in support of
Plaintiffs’ Motion for Summary Judgment.

2. MarkMonitor is widely recognized as the global leader in enterprise brand
protection, including various aspects of intellectual property infringement. Over half of the
Fortune 100, 1,300+ customers in over 50 countries and industry leaders in technology, fashion,

sports, entertainment, pharma, media, auto and healthcare trust MarkMonitor and rely on its
Case 1:18-cv-00950-LO-JFA Document 316 Filed 08/30/19 Page 2 of 9 PagelD# 11256

technology, expertise, and industry relationships every day to help them protect their brands and
content online.

3: I have 15 years of experience working within the anti-piracy industry, including
in working with technical staff on anti-piracy services. The anti-piracy work I have been closely
involved with includes monitoring of infringement on peer to peer networks on behalf of the
movie, music, software, publishing, professional sports, and video game industries. I have
worked at MarkMonitor for a total of approximately nine years, and I have also worked at
MediaSentry, another anti-piracy company.

4, In my duties at MarkMonitor, I have been closely involved with work that
MarkMonitor has done for the Recording Industry Association of America (“RIAA”), on behalf
of its member companies (the “Record Companies”) and the music industry more generally,
related to detecting the online distribution of sound recordings belonging to the Record
Companies.

5. Below I provide an overview of the process MarkMonitor employed for the RIAA
with respect to monitoring, verifying and sending infringement notices to Cox regarding Cox
users downloading and uploading files on peer-to-peer (“P2P”) networks. For purposes of this
declaration, I use the term “Cox User” to refer to someone using the Cox Internet service.

6. This declaration is geared to a general audience. Though I could discuss the

technology and MarkMonitor’s process in more technical terms, I assume that this level of detail

is more useful to the Court.

File Sharing Networks Monitored

7. RIAA retained MarkMonitor to
Case 1:18-cv-00950-LO-JFA Document 316 Filed 08/30/19 Page 3 of 9 PagelD# 11257

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8. By way of background, each P2P network is comprised of individuals with
compatible software installed on their computers, which are connected to each other via the
Internet. Such Internet-connected users on a P2P network are known as “peers.” Peers within a
network use P2P software to communicate directly with each other over their Internet
connections, including to download or disseminate files containing sound recordings. Peers can
only reach and communicate with one another on a P2P network when they are connected to the
Internet.

9. Some P2P networks, including BitTorrent, include a multi-source distribution
model whereby the file data is divided into small parts, spread among the users on the network.
Peers request pieces of data from each other continuously until they have completed the entire
download. Whenever a peer has received a new piece of data, that peer then begins distributi ng
it to other peers on the network who wish to download it. This desi gn effectively eliminates one
of the biggest bottlenecks of other file-sharing systems, where the download performance of all
users is degraded when the demand for a specific file is high.

10. In the context of computer operating systems such as Windows and macOS§, users
identify files by their filenames, for instance as “report.docx” or “song.mp3.” P2P networks
keep such filenames associated with files, but they go a step further. They use standardized
procedures known as cryptographic hash functions to generate a single alphanumeric string—
called a hash or hash value—for a file based upon the data contained within the file. Depending

on the type of hash algorithm used, hashes are usually written as 32 or 40 alphanumeric
Case 1:18-cv-00950-LO-JFA Document 316 Filed 08/30/19 Page 4 of 9 PagelD# 11258

characters. Two files that have the same hash are identical to one other; they are copies of the
same file and have the same contents. Two files that differ in even the smallest way will yield
different hash values. P2P networks use such hashes in a variety of ways, including to recognize
that multiple peers have a particular file the user is attempting to download. Relying ona
common hash as an indicator the files are identical, the P2P network can provide the file to the
downloader by pulling pieces from multiple peers.

iL, If a P2P network user—including MarkMonitor acting as a peer—finds two files
with the same name, it is possible their contents differ. However, if two files with the same hash
are found, the contents of the two files are guaranteed to be identical.! The hash enables users to
recognize a file is an exact duplicate of one whose music content has already been identified.

Detection and Data Collection

12. The search process and functionality of the MarkMonitor Software P

13. MarkMonitor’s Software

 

~o¥ stanéard cryptographic hash functions, this guarantee is actually short of 100% at a technical matter, but by a
negligible difference so close to zero that the guarantee widely is taken to be exactly 100% in practice.
Case 1:18-cv-00950-LO-JFA Document 316 Filed 08/30/19 Page 5 of 9 PagelD# 11259

14. MarkMonitor’s Software confirmed

Verification of Infringing Files

15. For the work MarkMonitor was engaged in for RIAA generally (.e., not just for

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Case 1:18-cv-00950-LO-JFA Document 316 Filed 08/30/19 Page 6 of 9 PagelD# 11260

16. Thereafter, each subsequent instance of the file was verificd

Notice Sending

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MarkMonitor sent the notices to Cox’s registered

email address for receiving copyright notices.

18. From the period of January 2, 2012 to March 31, 2015, MarkMonitor sent
284,444 infringement notices to Cox on behalf of RIAA. Each notice issued under penalty of
perjury with the information required under the Digital Millennium Copyright Act and under the

name of the RIAA.

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Case 1:18-cv-00950-LO-JFA Document 316 Filed 08/30/19 Page 7 of 9 PagelD# 11261

Po Each P2P service communicates this information differently, but under the
BitTorrent protocol, peers exchange “BitField” data from which the percentage of the total
available sound recording(s) can be calculated. BitTorrent only populates this BitField data after

it has verified the content the user possesses using the hash of each downloaded piece. I
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Production of Evidence

20. | MarkMonitor provided several data sets and documents generated from the
above-described processes, which I understand have been produced in discovery in this case and
are attached to the Gould declaration.

21. Infringement Notice: PX 538 (bates numbered Plaintiffs 00100723) is a
representative infringement notice sent to Cox. Each of the infringement notices sent to Cox as
described herein included the fields of information listed in 17 U.S.C. 512(c). The notices
provide an email address to contact in the event the subject of the notice disputes the
infringement reported to Cox. MarkMonitor has checked its records and has not identified any
emails received disputing the infringement reports to Cox.

22. Notice Data: PX 13 (bates numbered Plaintiffs 00286430) is a text file with

BE ecords of notices that, as per the process described above, MarkMonitor sent to Cox

between January 2, 2012 and March 31, 2015. It includes data variables such as Po

EE ° X14 (522s numbered

Plaintiffs_00286280) is an Excel file of the same data. ay
Case 1:18-cv-00950-LO-JFA Document 316 Filed 08/30/19 Page 8 of 9 PagelD# 11262

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VIA

EE © X11 (bates numbered Plaintiffs_00286431) is an Excel

file with

24. Audio Files: PX 39 is a hard drive of audio fle: TT

MarkMonitor provided those files to Plaintiffs and I understand Plaintiffs produced them to Cox
on a hard drive and also attached them to the Gould declaration. Anyone with the hard drive (PX
39) can listen to the audio recordings it contains.

25. Download Data: PX 16 (bates numbered Plaintiffs 00286432) is an Excel file

with

The records include, among other ins,
Case 1:18-cv-00950-LO-JFA Document 316 Filed 08/30/19 Page 9 of 9 PagelD# 11263

26. Case Packages: PX 33 (bates numbered MM000306) is a collection of

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understand that two examples are attached to the Gould declaration rather than the entire set of

Executed in 7::7°¢ ity,ek this 27 aay of August, 2019

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(Sam Bahun
